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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                           CHARLOTTESVILLE DIVISION

 ELIZABETH SINES, ET AL.,                    │ Case No. 3:17-cv-00072-NKM
                                             │
               Plaintiffs,                   │ Hon. Norman K. Moon
                                             │
        v.                                   │
                                             │
 JASON KESSLER, ET AL.,                      │
                                             │
               Defendants.                   │
                                             │

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             MOTION TO DISMISS OF MICHAEL HILL, MICHAEL TUBBS,
                         AND LEAGUE OF THE SOUTH
                       (ORAL ARGUMENT REQUESTED)
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        NOW COMES Michael Hill (“Hill”), Michael Tubbs (“Tubbs”), and League of the South

 (“LOTS”), by and through their undersigned attorney, and hereby move this Honorable Court to

 dismiss Plaintiff’s Complaint—pursuant to Fed. R. Civ. P. 12(b)(6)—for the reasons set forth in

 Brief in Support of Motion to Dismiss of Michael Hill, Michael Tubbs, and League of the South.

                                                Respectfully submitted,


                                                /s/ Bryan J. Jones
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 Dated: November 10, 2017
